18-13584-shl   Doc 1   Filed 11/19/18    Entered 11/19/18 12:55:02   Main Document
                                        Pg 1 of 22
18-13584-shl   Doc 1   Filed 11/19/18    Entered 11/19/18 12:55:02   Main Document
                                        Pg 2 of 22
18-13584-shl   Doc 1   Filed 11/19/18    Entered 11/19/18 12:55:02   Main Document
                                        Pg 3 of 22
18-13584-shl   Doc 1   Filed 11/19/18    Entered 11/19/18 12:55:02   Main Document
                                        Pg 4 of 22
18-13584-shl        Doc 1   Filed 11/19/18    Entered 11/19/18 12:55:02         Main Document
                                             Pg 5 of 22


                                              Annex A

               Pending Bankruptcy Cases Filed by Debtor and Affiliates of Debtor

       On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the U.S. Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of
New York (the “Court”). A motion will be filed with the Court requesting that the chapter 11
cases of the entities listed below be consolidated for procedural purposes only and jointly
administered, pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the
case number assigned to the chapter 11 case of Collective, Inc.

 COMPANY                    CASE NUMBER             DATE FILED               DISTRICT

 Collective, Inc.           18-_______( )           November 19, 2018        S.D.N.Y.

 CME Co-Op, LLC             18-_______( )           November 19, 2018        S.D.N.Y.
18-13584-shl   Doc 1   Filed 11/19/18    Entered 11/19/18 12:55:02   Main Document
                                        Pg 6 of 22
18-13584-shl   Doc 1   Filed 11/19/18    Entered 11/19/18 12:55:02   Main Document
                                        Pg 7 of 22



                                  EXHIBIT 1
18-13584-shl          Doc 1      Filed 11/19/18       Entered 11/19/18 12:55:02              Main Document
                                                     Pg 8 of 22



                              ACTION BY THE BOARD OF DIRECTORS
                                     OF COLLECTIVE, INC.

                           BY WRITTEN CONSENT IN LIEU OF MEETING

                                          Adopted November 19, 2018

                          Authorization for Filing Voluntary Petition Under
                        Chapter 11 of the Bankruptcy Code and Related Matters


       In accordance with Section 141(f) of the General Corporation Law of the State of
Delaware, the Amended and Restated Certificate of Incorporation of Collective, Inc., and the
Bylaws of Collective, Inc., the undersigned Board Members (the “Board”) of Collective, Inc., a
Delaware corporation (the “Company”), hereby adopt the following resolutions (the
“Resolutions”).

     WHEREAS, the Board has considered the financial and operational conditions of the
Company;

        WHEREAS, the Board has received, reviewed, and considered the recommendation of
senior management of the Company and the advice of the Company’s professionals and advisors
with respect to the options available to the Company, including the possibility of pursuing a
restructuring or sale of the Company’s business and assets under chapter 11 of title 11 of the United
States Code (as amended or modified, the “Bankruptcy Code”);

        WHEREAS, the Board has reviewed, considered, and received the stalking horse bid
(“Stalking Horse Bid”) of Zeta Global Holdings Corp. (“Zeta” or the “Stalking Horse Bidder”)
pursuant to that certain Asset Purchase Agreement (together with the exhibits thereto, and as may
be amended, modified, or supplemented from time to time in accordance with the terms thereof,
the “Stalking Horse APA”), 1 dated as of November 19, 2018, which Stalking Horse APA
contemplates, pursuant to the terms and subject to the conditions contained therein, the sale of
substantially all of the Company’s assets to the Stalking Horse Bidder in consideration of
1,150,307 shares of Series F-2 Preferred Stock of Zeta, with a deemed aggregate value of
$15,000,000, plus payment in cash of cure costs with respect to any executory contracts and
unexpired leases to be assumed and assigned to the Stalking Horse Bidder, plus assumption of the
Assumed Liabilities (as defined in the Stalking Horse APA), and which is to be consummated
through a sale under section 363 of the Bankruptcy Code;

I.         Commencement of Chapter 11 Case

        NOW, THEREFORE, IT IS HEREBY RESOLVED, that after consideration of the
alternatives presented to it and the recommendations of senior management of the Company and
the advice of the Company’s professionals and advisors, the Board has determined in its business
judgment that it is in the best interest of the Company, its creditors, shareholders, employees, other
1
    Capitalized terms used but not defined herein shall have the meanings given to them in the Stalking Horse APA.

                                                         -1-
18-13584-shl     Doc 1     Filed 11/19/18     Entered 11/19/18 12:55:02         Main Document
                                             Pg 9 of 22


interested parties and stakeholders that voluntary petitions be filed by the Company and by its
subsidiary CME Co-Op, LLC (“CME”) under chapter 11 of the Bankruptcy Code in the United
States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”); and it
is

       FURTHER RESOLVED, that the filing of such a petition by the Company is authorized
hereby; and it is

        FURTHER RESOLVED, that the Board Members, the Company’s officers, and any other
person designated and so authorized to act by a director or officer (collectively, the “Authorized
Persons”) hereby are, and each of them is, authorized and empowered to (a) execute, verify and
file on behalf of the Company all documents necessary or appropriate in connection with the filing
of said bankruptcy petition, including, without limitation, all petitions, affidavits, declarations,
schedules, statements of financial affairs, lists, motions, applications, pleadings, and other papers
or documents in connection with such chapter 11 petition; (b) take and perform any and all actions
deemed necessary and proper to obtain such relief as authorized herein and in connection with the
Company’s chapter 11 case; (c) appear as necessary at all bankruptcy proceedings on behalf of the
Company; and (d) pay all such expenses where necessary or appropriate in order to carry out fully
the intent and accomplish the purposes of the resolutions adopted herein; and it is

II.    Debtor-in-Possession Financing

         FURTHER RESOLVED, that in connection with the chapter 11 case, it is in the best
interests of the Company to engage in, and the Company will obtain benefits from, the lending
transactions under that certain first-priority secured debtor-in-possession multiple draw term loan
credit facility in a maximum aggregate principal amount of $4 million to be evidenced by that
certain Term Sheet, to be entered into by and among the Company, as Borrower, CME Co-Op,
LLC, as Guarantor, National Electrical Benefit Fund, as Lender, and RCP Advisors 2, LLC, as
successor-in-interest to Columbia Partners, L.L.C., Investment Management, as Agent (together
with the Exhibits and Schedules annexed thereto, the “DIP Term Sheet”) (capitalized terms used
in this section with respect to debtor-in-possession financing and not otherwise defined herein shall
have the meanings ascribed to such terms in the DIP Term Sheet); in each case subject to approval
by the Bankruptcy Court, which is necessary and appropriate to the conduct, promotion and
attainment of the business of the Company (the “Debtor-in-Possession Financing”); and it is

        FURTHER RESOLVED, that the form, terms and provisions of each of (i) the DIP Term
Sheet, including the use of proceeds to provide liquidity for the Company throughout the chapter
11 case, substantially in the form presented to the Board and (ii) any and all of the other
agreements, including, without limitation, any guarantee and security agreement, certificates,
documents and instruments authorized, executed, delivered, reaffirmed, verified and/or filed in
connection with the Debtor-in-Possession Financing (together with the DIP Term Sheet,
collectively, the “DIP Financing Documents”) and the Company’s performance of its obligations
thereunder, including the borrowings and guarantees contemplated thereunder, are hereby, in all
respects confirmed, ratified and approved; and it is

       FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to cause the

                                                -2-
18-13584-shl     Doc 1    Filed 11/19/18    Entered 11/19/18 12:55:02         Main Document
                                           Pg 10 of 22


Company to negotiate and approve the terms, provisions of and performance of, and to prepare,
execute and deliver the DIP Term Sheet and any other DIP Financing Documents, in the name and
on behalf of the Company under its corporate seal or otherwise, and such other documents,
agreements, instruments and certificates as may be required by the Agent or required by the DIP
Term Sheet and any other DIP Financing Documents; and it is

        FURTHER RESOLVED, that the Company be, and hereby is, authorized to incur the
obligations under and to undertake any and all related transactions contemplated under the DIP
Financing Documents including the granting of security thereunder (collectively, the “DIP
Financing Transactions”); and it is

        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized to grant security interests in, and liens on, any and all property of the Company as
collateral pursuant to the DIP Financing Documents to secure all of the obligations and liabilities
of the Company thereunder to the Lender and the Agent, and to authorize, execute, verify, file
and/or deliver to the Agent, on behalf of the Company, all agreements, documents and instruments
required by the Lender in connection with the foregoing; and it is

        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to take all such
further actions including, without limitation, to pay all fees and expenses, in accordance with the
terms of the DIP Financing Documents, which shall, in such Authorized Person’s judgment, be
necessary, proper or advisable to perform the Company’s obligations under or in connection with
the DIP Term Sheet or any of the other DIP Financing Documents and the transactions
contemplated therein and to carry out fully the intent of the foregoing resolutions; and it is

        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to execute and
deliver any amendments, supplements, waivers of certain provisions of or other modifications,
renewals, replacements, consolidations, substitutions and extensions of the DIP Term Sheet and/or
any of the DIP Financing Documents which shall, in such Authorized Person’s judgment, be
necessary, proper or advisable; and it is

III.   Bidding Procedures

         FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and empowered to propose bidding procedures for an auction and sale of substantially
all of the assets of the Company in connection with the bankruptcy proceedings, negotiate, agree
upon the terms of, and consummate a sale of substantially all of the assets of the Company, in each
case subject to Bankruptcy Court approval in the Company’s chapter 11 case, all in accordance
with the terms of the Stalking Horse Bid; and it is

       FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and empowered to enter into the Stalking Horse APA, subject to Bankruptcy Court
approval in the Company’s chapter 11 case, and also subject to higher or better offers submitted
in accordance with the terms and conditions of the bidding procedures; and it is

IV.    Retention of Professionals
                                               -3-
18-13584-shl     Doc 1    Filed 11/19/18    Entered 11/19/18 12:55:02        Main Document
                                           Pg 11 of 22


        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and directed to employ the law firm of Wilmer Cutler Pickering Hale and Dorr LLP
(“WilmerHale”) as bankruptcy counsel to assist the Company in filing for relief under chapter 11
of the Bankruptcy Code and in carrying out the Company’s duties under chapter 11 of the
Bankruptcy Code, and the officers of the Company are hereby authorized and directed to execute
retention agreements, pay retainers prior to, immediately upon and after the filing of the
bankruptcy case, and to execute and cause to be filed an application for authority to retain
WilmerHale as the Company’s bankruptcy counsel; and it is

        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and directed to retain Oaklins DeSilva & Phillips LLC as investment banker to the
Company, and the officers of the Company are hereby authorized and directed to execute retention
agreements, pay retainers prior to, immediately upon and after the filing of the bankruptcy case,
and to execute and cause to be filed an application for authority to retain Oaklins DeSilva &
Phillips LLC as the Company’s investment banker; and it is

        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and directed to retain Epiq Corporate Restructuring, LLC as claims and noticing agent
and administrative agent, and the officers of the Company are hereby authorized and directed to
execute retention agreements, pay retainers prior to, immediately upon and after the filing of the
bankruptcy case, and to execute and cause to be filed an application for authority to retain Epiq
Corporate Restructuring, LLC as the Company’s claims and noticing agent and administrative
agent; and it is

V.     Other Items

        FURTHER RESOLVED, that the Company shall cause its subsidiary CME to file a
voluntary petition under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court
for the Southern District of New York through the written consent attached hereto as Annex A,
which is hereby adopted as if fully set forth herein; and it is

        FURTHER RESOLVED, that the Company shall cause its subsidiary CME to guaranty
the obligations of the Company under the Debtor-in-Possession Financing through Annex A
hereto; and it is

       FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and directed to take any and all actions on behalf of the Company deemed necessary
and proper by such person to cause CME to effect the transactions contemplated hereby; and it is

        FURTHER RESOLVED, that all instruments, agreements, certificates, consents, waivers
or other documents heretofore executed and delivered (or caused to be executed and delivered)
and all acts lawfully done or actions lawfully taken by any officer in connection with the chapter
11 case, or any further action to seek relief on behalf of the Company under chapter 11 of the
Bankruptcy Code, or in connection with the chapter 11 case, or any matter related thereto, be, and
hereby are, adopted, ratified, confirmed and approved in all respects as the acts and deeds of the
Company; and it is


                                              -4-
18-13584-shl     Doc 1     Filed 11/19/18     Entered 11/19/18 12:55:02        Main Document
                                             Pg 12 of 22


        FURTHER RESOLVED, that the acts, actions and transactions heretofore taken by the
officers or the Board in the name of and on behalf of the Company in furtherance of the purpose
and intent of any or all of the foregoing resolutions, which acts, actions and transactions would
have been approved by the foregoing resolutions except that such acts were taken before the
resolutions were adopted, be, and hereby are, ratified, confirmed, and approved in all respects; and
it is

     FURTHER RESOLVED, that this consent shall be filed with the minutes of the
Company.

                                         *       *       *




                                               -5-
18-13584-shl   Doc 1   Filed 11/19/18    Entered 11/19/18 12:55:02   Main Document
                                        Pg 13 of 22




                                   ANNEX A
18-13584-shl          Doc 1      Filed 11/19/18       Entered 11/19/18 12:55:02              Main Document
                                                     Pg 14 of 22



                                           WRITTEN CONSENT
                                        OF THE SOLE MEMBER OF
                                            CME CO-OP, LLC

        Collective, Inc., being the sole member (the “Member”) of CME Co-Op, LLC, a Delaware
limited liability company (“CME”), in accordance with the CME’s Operating Agreement dated as
of August 18, 2010 (the “Operating Agreement”) and the Delaware Limited Liability Company
Act, hereby adopts the following resolutions by written consent as of the date set forth above.

           WHEREAS, the Member is the sole member of CME;

       WHEREAS, the Member’s Board (the “Board”) has considered the financial and
operational conditions of CME;

        WHEREAS, the Board has reviewed, considered, and received the recommendation of
senior management of the Member and the advice of the Member’s professionals and advisors
with respect to the options available to CME, including the possibility of pursuing a restructuring
or sale of CME’s business and assets under chapter 11 of title 11 of the United States Code (as
amended or modified, the “Bankruptcy Code”);

        WHEREAS, the Board has reviewed, considered, and received the stalking horse bid
(“Stalking Horse Bid”) of Zeta Global Holdings Corp. (“Zeta” or the “Stalking Horse Bidder”)
pursuant to that certain Asset Purchase Agreement (together with the exhibits thereto, and as may
be amended, modified, or supplemented from time to time in accordance with the terms thereof,
the “Stalking Horse APA”), 2 dated as of November 19, 2018, which Stalking Horse APA
contemplates, pursuant to the terms and subject to the conditions contained therein, the sale of
substantially all of the Member’s assets to the Stalking Horse Bidder in consideration of 1,150,307
shares of Series F-2 Preferred Stock of Zeta, with a deemed aggregate value of $15,000,000, plus
payment in cash of cure costs with respect to any executory contracts and unexpired leases to be
assumed and assigned to the Stalking Horse Bidder, plus assumption of the Assumed Liabilities
(as defined in the Stalking Horse APA), and which is to be consummated through a sale under
section 363 of the Bankruptcy Code;

        NOW, THEREFORE, IT IS HEREBY RESOLVED, that after consideration of the
alternatives presented to it and the recommendations of senior management of the Member and
the advice of the Member’s professionals and advisors, the Board has determined in its business
judgment that it is in the best interest of CME, its creditors, shareholders, employees, other
interested parties and stakeholders that voluntary petitions be filed by the Member and by CME
under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern
District of New York (the “Bankruptcy Court”); and it is

         FURTHER RESOLVED, that the filing of such a petition by CME is authorized hereby;
and it is


2
    Capitalized terms used but not defined herein shall have the meanings given to them in the Stalking Horse APA.

                                                         -1-
18-13584-shl      Doc 1     Filed 11/19/18    Entered 11/19/18 12:55:02           Main Document
                                             Pg 15 of 22


         FURTHER RESOLVED, that the members of the Board, the Member’s officers, and any
other person designated and so authorized to act by a director or officer of the Member
(collectively, the “Authorized Persons”) hereby are, and each of them is, authorized and
empowered to (a) execute, verify and file on behalf of CME all documents necessary or appropriate
in connection with the filing of said bankruptcy petition, including, without limitation, all petitions,
affidavits, declarations, schedules, statements of financial affairs, lists, motions, applications,
pleadings, and other papers or documents in connection with such chapter 11 petition; (b) take and
perform any and all actions deemed necessary and proper to obtain such relief as authorized herein
and in connection with CME’s chapter 11 case; (c) appear as necessary at all bankruptcy
proceedings on behalf of CME; and (d) pay all such expenses where necessary or appropriate in
order to carry out fully the intent and accomplish the purposes of the resolutions adopted herein;
and it is

         FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and empowered to propose bidding procedures for an auction and sale of substantially
all of the assets of CME in connection with the bankruptcy proceedings, negotiate, agree upon the
terms of, and consummate a sale of substantially all of the assets of CME, in each case subject to
Bankruptcy Court approval in CME’s chapter 11 case; and it is

        FURTHER RESOLVED, that in connection with the chapter 11 case, it is in the best
interests of CME to engage in, and CME will obtain benefits from, the lending transactions under
that certain first-priority secured debtor-in-possession multiple draw term loan credit facility in a
maximum aggregate principal amount of $4 million to be evidenced by that certain Term Sheet,
to be entered into by and among the Member, as Borrower, CME, as Guarantor, National Electrical
Benefit Fund, as Lender, and RCP Advisors 2, LLC, as successor-in-interest to Columbia Partners,
L.L.C., Investment Management, as Agent (together with the Exhibits and Schedules annexed
thereto, the “DIP Term Sheet”) (capitalized terms used in this section with respect to debtor-in-
possession financing and not otherwise defined herein shall have the meanings ascribed to such
terms in the DIP Term Sheet); in each case subject to approval by the Bankruptcy Court, which is
necessary and appropriate to the conduct, promotion and attainment of the business of CME (the
“Debtor-in-Possession Financing”); and it is

        FURTHER RESOLVED, that the form, terms and provisions of each of (i) the DIP Credit
Agreement, substantially in the form presented to the Board and (ii) any and all of the other
agreements, including, without limitation, any guarantee and security agreement, certificates,
documents and instruments authorized, executed, delivered, reaffirmed, verified and/or filed in
connection with the Debtor-in-Possession Financing (together with the DIP Credit Agreement,
collectively, the “DIP Financing Documents”) and CME’s performance of its obligations
thereunder, including the guarantees contemplated thereunder, are hereby, in all respects
confirmed, ratified and approved; and it is

        FURTHER RESOLVED, that CME be, and hereby is, authorized to guaranty the
obligations of the Member under and to undertake any and all related transactions contemplated
under the DIP Financing Documents including the granting of security thereunder (collectively,
the “DIP Financing Transactions”); and it is



                                                 -2-
18-13584-shl     Doc 1     Filed 11/19/18    Entered 11/19/18 12:55:02         Main Document
                                            Pg 16 of 22


        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized, empowered, and directed, in the name and on behalf of CME, to cause CME to
negotiate and approve the terms, provisions of and performance of, and to prepare, execute and
deliver the DIP Term Sheet and any other DIP Financing Documents, in the name and on behalf
of CME under its corporate seal or otherwise, and such other documents, agreements, instruments
and certificates as may be required by the Agent or required by the DIP Term Sheet and any other
DIP Financing Documents; and it is

       FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized to grant security interests in, and liens on, any and all property of CME as collateral
pursuant to the DIP Financing Documents to secure all of the obligations and liabilities of CME
thereunder to the Lenders and the Agent, and to authorize, execute, verify, file and/or deliver to
the Agent, on behalf of CME, all agreements, documents and instruments required by the Lenders
in connection with the foregoing; and it is

        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized, empowered, and directed, in the name and on behalf of CME, to take all such further
actions including, without limitation, to pay all fees and expenses, in accordance with the terms of
the DIP Financing Documents, which shall, in such Authorized Person’s judgment, be necessary,
proper or advisable to perform CME’s obligations under or in connection with the DIP Term Sheet
or any of the other DIP Financing Documents and the transactions contemplated therein and to
carry out fully the intent of the foregoing resolutions; and it is

       FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized, empowered, and directed, in the name and on behalf of CME, to execute and deliver
any amendments, supplements, waivers of certain provisions of or other modifications, renewals,
replacements, consolidations, substitutions and extensions of the DIP Term Sheet and/or any of
the DIP Financing Documents which shall, in such Authorized Person’s judgment, be necessary,
proper or advisable; and it is

         FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and directed to employ the law firm of Wilmer Cutler Pickering Hale and Dorr LLP
(“WilmerHale”) as bankruptcy counsel to assist CME in filing for relief under chapter 11 of the
Bankruptcy Code and in carrying out CME’s duties under chapter 11 of the Bankruptcy Code, and
the officers of CME are hereby authorized and directed to execute retention agreements, pay
retainers prior to, immediately upon and after the filing of the bankruptcy case, and to execute and
cause to be filed an application for authority to retain WilmerHale as CME’s bankruptcy counsel;
and it is

        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and directed to retain Oaklins DeSilva & Phillips LLC as investment banker to CME,
and the officers of CME are hereby authorized and directed to execute retention agreements, pay
retainers prior to, immediately upon and after the filing of the bankruptcy case, and to execute and
cause to be filed an application for authority to retain Oaklins DeSilva & Phillips LLC as CME’s
investment banker; and it is



                                               -3-
18-13584-shl     Doc 1    Filed 11/19/18      Entered 11/19/18 12:55:02       Main Document
                                             Pg 17 of 22


        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and directed to retain Epiq Corporate Restructuring, LLC as claims and noticing agent
and administrative agent, and the officers of CME are hereby authorized and directed to execute
retention agreements, pay retainers prior to, immediately upon and after the filing of the
bankruptcy case, and to execute and cause to be filed an application for authority to retain Epiq
Corporate Restructuring, LLC as CME’s claims and noticing agent and administrative agent; and
it is

        FURTHER RESOLVED, that all instruments, agreements, certificates, consents, waivers
or other documents heretofore executed and delivered (or caused to be executed and delivered)
and all acts lawfully done or actions lawfully taken by any officer in connection with the chapter
11 case, or any further action to seek relief on behalf of CME under chapter 11 of the Bankruptcy
Code, or in connection with the chapter 11 case, or any matter related thereto, be, and hereby are,
adopted, ratified, confirmed and approved in all respects as the acts and deeds of CME; and it is

        FURTHER RESOLVED, that the acts, actions and transactions heretofore taken by the
officers or the Board in the name of and on behalf of CME in furtherance of the purpose and intent
of any or all of the foregoing resolutions, which acts, actions and transactions would have been
approved by the foregoing resolutions except that such acts were taken before the resolutions were
adopted, be, and hereby are, ratified, confirmed, and approved in all respects; and it is

       FURTHER RESOLVED, that this consent shall be filed with the minutes of CME.



                                         *       *      *




                                               -4-
                18-13584-shl            Doc 1           Filed 11/19/18         Entered 11/19/18 12:55:02                          Main Document
                                                                              Pg 18 of 22

      Fill in this information to Identify the case:

      Debtor Name: Collective, Inc. (f/k/a Collective Media, Inc.)
                                                                                                                                             Check if this is an
      United States Bankruptcy Court for the:          District of Delaware                                                                  amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if       Deduction          Unsecured
                                                                                                                    partially secured     for value of       claim
                                                                                                                                          collateral or
                                                                                                                                          setoff

  1       JENJO LLC                            CONTACT: LEGAL/GENERAL         TRADE                 Contingent                                                   $2,091,908.00
          ATTN: LEGAL/GENERAL COUNSEL          COUNSEL                        DEBT/LITIGATION       Unliquidated
          5 GREAT JONES STREET 2               PHONE: (617) 270-8555                                Disputed
          NEW YORK, NY 10012                   info@jenjo.com
  2       BRANDED ENTERTAINMENT                CONTACT: RICKY RAY             TRADE DEBT            Disputed                                                       $322,817.00
          NETWORK                              BUTLER, CEO
          ATTN: RICKEY RAY BUTLER, CEO         PHONE: (310) 342-1500
          15250 VENTURA BLVD., STE. 300
          SHERMAN OAKS, CA 91403
  3       99 PARK AVENUE ASSOCIATES, L.P.      CONTACT: ACCOUNTS              RENT                                                                                 $127,557.00
          ATTN: ACCOUNTS RECEIVABLE            RECEIVABLE
          410 PARK AVENUE, 20TH FLOOR          PHONE: (212) 661-3495
          NEW YORK, NY 10022                   FAX: (212) 867-8805
  4       ZETAXCHANGE                          CONTACT: DAVID A               TRADE DEBT                                                                           $115,822.00
          ATTN: DAVID A. STEINBERG, CEO        STEINBERG, CEO
          185 MADISON AVE. 5 FL                PHONE: 212-660-2500
          NEW YORK, NY 10016                   info@zetaglobal.com
  5       APPNEXUS INC.                        CONTACT: MICHAEL               TRADE DEBT                                                                           $102,217.00
          ATTN: MICHAEL RUBENSTEIN,            RUBENSTEIN, PRESIDENT
          PRESIDENT                            PHONE: (646) 604-2406
          DEPT CH 19467                        FAX: (646) 825-6465
          PALATINE, IL 60055-9467
  6       ORION WORLDWIDE, LLC                 CONTACT: JASON CHUNG,          TRADE DEBT                                                                             $93,626.00
          ATTN: JASON CHUNG, SR.               SR. FINANCIAL ANALYST
          FINANCIAL ANALYST                    PHONE: (212) 551 4017
          622 THIRD AVENUE                     FAX: (917) 542-7001
          NEW YORK, NY 10017                   jason.chung@orionworldwid
                                               e.com




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                        Page 1
              18-13584-shl            Doc 1      Filed 11/19/18         Entered 11/19/18 12:55:02 Main Document
  Debtor: Collective, Inc. (f/k/a Collective Media, Inc.)              Pg 19 of 22 Case Number (if known):

   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  7     MIGHTYHIVE INC.                    CONTACT: PETE KIM, CEO      TRADE DEBT                                                                             $78,492.00
        ATTN: PETE KIM, CEO                PHONE: (888) 727-9742
        394 PACIFIC AVE. FI. 5             questions@mightyhive.com
        SAN FRANCISCO, CA 94111
  8     DELOITTE & TOUCHE LLP              CONTACT: ACCOUNTS           TRADE DEBT                                                                             $75,000.00
        ATTN: ACCOUNTS RECEIVABLE          RECEIVABLE
        P.O. BOX 844708                    PHONE: (214) 840-7000
        DALLAS, TX 75284-4708              FAX: (214) 462-4010
  9     CLOUDERA, INC.                     CONTACT: JOHN ENDO, SR.     TRADE DEBT                                                                             $70,000.00
        ATTN: JOHN ENDO, SR. AR            AR ACCOUNTANT
        ACCOUNTANT                         PHONE: (650) 362-0488
        395 PAGE MILL ROAD                 FAX: (888) 789-1488
        PALO ALTO, CA 94306                john.endo@cloudera.com
  10    MOAT INC                           CONTACT: JONAH              TRADE DEBT                                                                             $56,375.00
        ATTN: JONAH GOODHARD, CEO          GOODHARD, CEO
        222 S ALBANY ST 2                  PHONE: (910) 454-0780
        ITHACA, NY 14850                   FAX: (626) 628-1794
  11    INTERNAP NETWORK SERVICES          CONTACT: PETER D AQUINO,    TRADE DEBT                                                                             $30,441.00
        ATTN: PETER D. AQUINO, CEO         CEO
        DEPT 0526                          PHONE: (404) 681-7640
        P.O. BOX 120526                    billing@inap.com
        DALLAS, TX 75312-0526
  12    DOUBLE VERIFY, INC                 CONTACT: WAYNE              TRADE DEBT             Disputed                                                        $28,652.00
        ATTN: WAYNE GATTINELLA,            GATTINELLA, PRESIDENT &
        PRESIDENT & CEO                    CEO
        575 8TH AVENUE                     PHONE: (212) 631-2150
        8TH FLOOR                          FAX: (212) 239-0548
        NEW YORK, NY 10018                 info@doubleverify.com
  13    GRAPESHOT LTD                      CONTACT: KURT              TRADE DEBT                                                                              $28,011.00
        ATTN: KURT KRATCHMAN, COO          KRATCHMAN, COO
        9 DUKES COURT                      PHONE: (440) 122-3790 EXT.
        54-62 NEWMARKET ROAD               6600
        CAMBRIDGE CB5 8DZ UNITED           thedatahotline@oracle.com
        KINGDOM
  14    PROHASKA CONSULTING LLC            CONTACT: MATT PROHASKA, TRADE DEBT                                                                                 $25,400.00
        ATTN: MATT PROHASKA, PRINCIPAL     PRINCIPAL & CEO
        & CEO                              PHONE: (917) 597-6568
        99 MADISON AVENUE, 5TH FLOOR       matt@prohaskaconsulting.co
        NEW YORK, NY 10016                 m


  15    BEESWAX.IO CORPORATION             CONTACT: ACCOUNTS           TRADE DEBT                                                                             $24,786.00
        ATTN: ACCOUNTS RECEIVABLE          RECEIVABLE
        572 GRAND STREET G1301             PHONE: (917) 576-1488
        NEW YORK, NY 10002                 ramr@beeswax.io
  16    TARLOW & CO. CPAS                  CONTACT: ALEXANDER          TRADE DEBT                                                                             $23,242.00
        ATTN: ALEXANDER CHARITOS,          CHARITOS, ACCOUNTING
        ACCOUNTING DIR.                    DIR.
        7 PENN PLAZA, STE 210              PHONE: (212) 697-8540
        NEW YORK, NY 10001-3900            info@tarlow.com
  17    SILLS CUMMIS & GROSS P.C.          CONTACT: ACCOUNTS           TRADE DEBT                                                                             $21,696.00
        ATTN: ACCOUNTS RECEIVABLE          RECEIVABLE
        ONE RIVERFRONT PLAZA               PHONE: (973) 643-7000
        NEWARK, NJ 07102                   FAX: (973) 643-6500
                                           sillsmail@sillscummis.com



Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 2
              18-13584-shl            Doc 1      Filed 11/19/18         Entered 11/19/18 12:55:02 Main Document
  Debtor: Collective, Inc. (f/k/a Collective Media, Inc.)              Pg 20 of 22 Case Number (if known):

   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  18    ZAPP360                            CONTACT: ROSIE OMEARA,     TRADE DEBT                                                                             $19,050.00
        ATTN: ROSIE OMEARA, CEO            CEO
        135 MADISON, 8TH FLOOR             PHONE: (646) 657-9060
        NEW YORK, NY 10016                 first@zapp360.com
  19    DSTILLERY INC.                     CONTACT: MICHAEL BEEBE,    TRADE DEBT                                                                             $18,745.00
        ATTN: MICHAEL BEEBE, CEO           CEO
        470 PARK AVE S.                    PHONE: (646) 278-4929
        NEW YORK, NY 10016                 FAX: (917) 571-3422
                                           contact@distillery.com
  20    REIGER CONSULTING                  CONTACT: ACCOUNTS            TRADE DEBT                                                                           $18,600.00
        ATTN: ACCOUNTS RECEIVABLE          RECEIVABLE
        225 WEST WAYNE AVE.                PHONE: (214) 676-9804
        WAYNE, PA 19087                    FAX: (214) 676-9804
                                           services@reigerconsulting.co
                                           m
  21    COMERICA CREDIT CARD               CONTACT: ACCOUNTS          TRADE DEBT                                                                             $16,295.00
        ATTN: ACCOUNTS RECEIVABLE          RECEIVABLE
        DEPARTMENT 166901                  PHONE: (214) 462-4000
        PO BOX 55000                       FAX: (214) 462-4010
        DETROIT, MI 48255
  22    GARTNER INC                        CONTACT: EUGENE A HALL,    TRADE DEBT                                                                             $15,896.00
        ATTN: EUGENE A HALL, CEO           CEO
        P.O. BOX 911319                    PHONE: (203) 964-0096
        DALLAS, TX 75391-1319              inquiry@gartner.com
  23    CLARITY                            CONTACT: ACCOUNTS          TRADE DEBT                                                                             $15,088.00
        ATTN: ACCOUNTS RECEIVABLE          RECEIVABLE
        110 GREENE STREET                  PHONE: (646) 934-6924
        SUITE 303
        NEW YORK, NY 10012
  24    NSONE INC                          CONTACT: KRIS BEEVERS,     TRADE DEBT                                                                             $14,000.00
        ATTN: KRIS BEEVERS, CEO            CEO
        225 BROADWAY                       PHONE: (212) 227-8638
        SUITE 2901                         nj@ns1.com
        NEW YORK, NY 10007
  25    LINKEDIN CORPORATION               CONTACT: ACCOUNTS          TRADE DEBT                                                                             $11,862.00
        ATTN: ACCOUNTS RECEIVABLE          RECEIVABLE
        62228 COLLECTIONS CENTER DRIVE
        CHICAGO, IL 60693-0622
  26    RAMDASS KESHAVAMURTHY              CONTACT: ACCOUNTS          TRADE DEBT                                                                             $10,620.00
        ATTN: ACCOUNTS RECEIVABLE          RECEIVABLE
        3688 13TH D MAIN 9TH CROSS
        HAL II STAGE
        BANGALORE INDIA
  27    FRAGOMEN, DEL REY, BERNSEN &       CONTACT: ACCOUNTS          TRADE DEBT                                                                             $10,554.00
        LOEWY, LLP                         RECEIVABLE
        ATTN: ACCOUNTS RECEIVABLE          PHONE: (602) 266-1825
        75 REMITTANCE DRIVE                FAX: (602) 266-1826
        SUITE 6072                         phoenixinfo@fragomen.com
        CHICAGO, IL
  28    HEWLETT PACKARD ENTERPRISE         CONTACT: ACCOUNTS          TRADE DEBT                                                                             $10,500.00
        COMPANY                            RECEIVABLE
        ATTN: ACCOUNTS RECEIVABLE          PHONE: (650) 687-5817
        P.O. BOX 101032
        ATLANTA, GA 30932



Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 3
              18-13584-shl            Doc 1      Filed 11/19/18       Entered 11/19/18 12:55:02 Main Document
  Debtor: Collective, Inc. (f/k/a Collective Media, Inc.)            Pg 21 of 22 Case Number (if known):

   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  29    NEUSTAR INC.                       CONTACT: EVIN HUGHES,      TRADE DEBT                                                                            $10,500.00
        ATTN: KEVIN HUGHES, SVP &          SVP & GENERAL COUNSEL
        GENERAL COUNSEL                    PHONE: (571) 434-5400
        P.O. BOX 742000                    billingsupport@team.newsta
        ATLANTA, GA 30374-2000             r
  30    AD-JUSTER, INC.                    CONTACT: DENNIS CLARKE,   TRADE DEBT                                                                              $9,600.00
        ATTN: DENNIS CLARKE, CEO           CEO
        13280 EVENING CREEK DR. S, SUITE   PHONE: (858) 842-1386
        100
        SAN DIEGO, CA 92128




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                  Page 4
18-13584-shl   Doc 1   Filed 11/19/18    Entered 11/19/18 12:55:02   Main Document
                                        Pg 22 of 22
